                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:00CR46-2-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                     SCHEDULING ORDER
                                 )
BRYON KEITH LATTIMORE            )
                                 )
           Defendant.            )
________________________________)


      THIS MATTER is before the Court on an Order of Remand, filed October 29,

2013, from the Fourth Circuit Court of Appeals for re-sentencing.

      IT IS, THEREFORE, ORDERED that:

      The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of BRYON KEITH LATTIMORE(USM#

16503-089), for re-sentencing on February 3, 2014, before the Honorable Richard L.

Voorhees, in the Western District of North Carolina, Statesville Courthouse, 200 West

Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than January

21, 2014, and upon completion of the re-sentencing hearing, Defendant is to be

returned to the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.




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                         Signed: December 2, 2013




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